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IH-32                                                                                                Rev: 2014-1




                             United States District Court
                                         for the
                            Southern District of New York
                                     Related Case Statement
                                                              
                                     Full Caption of Later Filed Case:

THE NEW YORK TIMES COMPANY




                         Plaintiff                                                Case Number



                           vs.                                    1:23-cv-11195

MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, and OPENAI HOLDINGS,
LLC

                       Defendant

                                     Full Caption of Earlier Filed Case:
                     (including in bankruptcy appeals the relevant adversary proceeding)


AUTHORS GUILD, DAVID BALDACCI, MARY BLY, MICHAEL
CONNELLY, SYLVIA DAY, JONATHAN FRANZEN, JOHN GRISHAM,
ELIN HILDERBRAND, CHRISTINA BAKER KLINE, MAYA SHANBHAG
LANG, VICTOR LAVALLE, GEORGE R.R. MARTIN, JODI PICOULT,
DOUGLAS PRESTON, ROXANA ROBINSON, GEORGE SAUNDERS,
SCOTT TUROW, and RACHEL VAIL, individually and on behalf of
others similarly situated,

                         Plaintiff                                                Case Number

                                                              1:23-cv-08292-SHS
                           vs.


OPENAI INC., OPENAI OPCO LLC, OPENAI GP LLC,
OPENAI LLC, OPENAI GLOBAL LLC, OAI CORPORATION
LLC, OPENAI HOLDINGS LLC, OPENAI STARTUP FUND I
LP, OPENAI STARTUP FUND GP I LLC, OPENAI
STARTUP FUND MANAGEMENT LLC, and MICROSOFT
CORPORATION

                       Defendant


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        Case 1:23-cv-11195-SHS-OTW              Document 3        Filed 12/27/23        Page 2 of 2
IH-32                                                                                          Rev: 2014-1



Status of Earlier Filed Case:
                           (If so, set forth the procedure which resulted in closure, e.g., voluntary
        ____ Closed        dismissal, settlement, court decision. Also, state whether there is an appeal
                           pending.)
        ✔
     ____ Open             (If so, set forth procedural status and summarize any court rulings.)

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This action for copyright infringement against OpenAI was filed on September 19, 2023, bringing direct,
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vicarious, and contributory copyright infringement claims on behalf of a putative class of copyright owners who
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published works of fiction that were used to "train" OpenAI's large-language models. On December 5, 2023,
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Plaintiffs amended their complaint to include Microsoft as a defendant, adding a number of new allegations
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related to Microsoft's relationship with OpenAI. See Case No. 23-cv-08292, ECF 40. Also, on November 21,
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2023, a class action lawsuit (Case No. 23-cv-10211) was filed by non-fiction copyright owners against
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substantially the same Defendants (multiple OpenAI entities and Microsoft) alleging direct and contributory

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copyright infringement on similar facts. The Court accepted that case as related on November 30, 2023.

Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
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In all three suits, Plaintiffs bring claims of direct, vicarious, and contributory copyright
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infringement related to Defendants OpenAI and Microsoft's use of Plaintiffs' copyrighted
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material to train Generative AI large-language models. The Defendants in all three lawsuits
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are nearly identical. The basic legal theories, sources of liability, relief requested, basis of
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jurisdiction, and factual allegations regarding Defendants' conduct brought in the three
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complaints are similar. The instant complaint varies in that it is brought on behalf of a single
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plaintiff, rather than a class, and therefore contains additional allegations and claims specific
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to that plaintiff. However, we expect that there will be substantial overlap between the
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substantive legal and factual issues in all three cases, and designating these cases as
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related would avoid duplicative efforts, expenses, and burdens on the Court.
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          /s/ Elisha Barron                              12/27/23
Signature: ________________________________________ Date: __________________

          Susman Godfrey LLP
Firm:         ________________________________________


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